
577 S.E.2d 627 (2003)
356 N.C. 672
In the Matter of Ryan MILLS; Ashley Mills; and Samantha Grigg, Minor children.
No. 488P02.
Supreme Court of North Carolina.
February 27, 2003.
J. Elizabeth Spradlin, Fairview, for Richard N. Mills.
John C. Adams, Asheville, for Buncombe County DSS.
Prior report: 152 N.C.App. 1, 567 S.E.2d 166.

ORDER
Upon consideration of the petition filed by Respondent (Richard N. Mills) in this matter for a writ of certiorari to review the decision of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 27th day of February 2003."
